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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

     ZACHARY WAYNE WHITE                                §
                                                        §
                     Plaintiff,                         §   CIVIL ACTION NO. 4:23-CV-00847-ALM-
     v.                                                 §                 AGD
                                                        §
     FIFTH THIRD BANK, NATIONAL                         §
     ASSOCIATION, ET AL.,                               §
                                                        §
                     Defendants.

                                                   ORDER

            Pending before the court is pro se Plaintiff Zachary Wayne White’s Motion requesting the

     court grant permission for electronic filing (Dkt. #8). Having reviewed the Motion, the court finds

     that it would serve the interests of efficiency for Plaintiff to receive electronic notice of filings

     and other postings in this matter and to file documents electronically as well. Therefore, the

.    Clerk of Court shall add Plaintiff’s email address, zach@amec-llc.com (Dkt. #8 at 3), to the

     electronic service list. Once Plaintiff’s e-mail is on the service list, Plaintiff, as with all Parties

     on the electronic service list, will be deemed as having been given notice of all docket activity

     at the time of electronic posting. Accordingly,

            It is therefore ORDERED that Plaintiff’s Motion requesting the court grant permission

     for electronic filing (Dkt. #8) is GRANTED as set forth herein. The Clerk of Court shall

     add Plaintiff’s email address, zach@amec-llc.com, to the electronic service list.

            IT IS SO ORDERED.

            SIGNED this 17th day of October, 2023.




                                             ____________________________________
                                                 AILEEN GOLDMAN DURRETT
                                             UNITED STATES MAGISTRATE JUDGE
